                                        UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF ARIZONA

                                                       Minute Entry
Hearing Information:
                         Debtor:   SUSAN SIMPSON
                  Case Number:     2:20-BK-02088-EPB          Chapter: 13

          Date / Time / Room:      TUESDAY, AUGUST 03, 2021 11:00 AM TELEPHONIC HRGS

         Bankruptcy Judge:         EDDWARD P. BALLINGER JR.
               Courtroom Clerk:    ANNETTE FRANCHELLO
                Reporter / ECR:    WESLEY STANGRET                                                  0.00


Matters:
       1) CONTINUED HEARING ON MOTION TO DISMISS OR CONVERT CASE UNDER 11 U.S.C. § 1307 FILED BY
          NEW HORIZONS 401K PROFIT SHARING PLAN, BRAD GILBERTSON, TRUSTEE
          R / M #: 172 / 0

       2) CONTINUED HEARING ON DEBTOR'S OBJECTION TO NEW HORIZON'S PROOF OF CLAIM 5-1 AS AMENDED
              R / M #:   52 / 0

       3) CONTINUED HEARING ON NEW HORIZONS NOTICE OF DEFAULT AND DEBTOR'S OBJECTION THERETO
              R / M #:   171 / 0


Appearances:

        SCOTT W. HYDER, ATTORNEY FOR SUSAN SIMPSON
        SUSAN SIMPSON, DEBTOR
        DON C. FLETCHER, ATTORNEY FOR NEW HORIZONS 401K PROFIT SHARING PLAN
        LEONARD MCDONALD, ATTORNEY FOR JPMORGAN CHASE BANK, N.A.




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                                    UNITED STATES BANKRUPTCY COURT
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(continue)...   2:20-BK-02088-EPB        TUESDAY, AUGUST 03, 2021 11:00 AM


Proceedings:                                                                                                 1.00


          ITEMS #1 - #3

          Mr. Hyder explains that he has filed an amended plan allowing the Debtor to sell the property.
          He states that the automatic stay will be deemed lifted if the Debtor does not have a contract
          in escrow by September 30, 2021. If she does have a contract in escrow, the stay continues
          but if a closing does not occur by October 30, 2021, the stay is lifted at that time. He and Mr.
          Fletcher have discussed a payoff amount and have agreed that the amount is $126,500.00.

          Mr. Fletcher states that there are additional terms like expecting the Debtor move
          expeditiously with the sale. He and Mr. Hyder propose having a status conference later in the
          month. He notes that the Debtor is trying to sell the house without a broker. He and Mr. Hyder
          will file a formal stipulation setting the claim at $126,500.00 which would supersede the
          previously filed claim. He asks that there be a time period for the Debtor to obtain a broker if
          she cannot sell the house.

          The Court suggests that the parties come to an agreement regarding the Debtor moving
          expeditiously.

          Mr. Hyder will draft an order with all the details. He notes that the escrow agent would be
          permitted to pay the Chase lien, HOA lien, and closing costs. The escrow agent would then
          hold the remaining proceeds pending further order from the Court.

          Mr. McDonald has nothing to add.

          COURT: IT IS ORDERED continuing this hearing to August 24, 2021 at 1:30 p.m.




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